      CASE 0:05-cr-00282-MJD-JJG       Doc. 359    Filed 12/14/06   Page 1 of 9




                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                   Plaintiff,


v.                                     MEMORANDUM OF LAW & ORDER
                                       Criminal File No. 05-282 (MJD/JJG)

(1) CHRISTOPHER WILLIAM SMITH
a/k/a “Chris Jonson,” a/k/a “Tony Spitalie,”
a/k/a “Bruce Jonson,” a/k/a “Robert Jonson,”

               Defendant.
________________________________________________________________

I.    INTRODUCTION

      This matter is before the Court on Defendant Christopher William Smith’s

Motion for a New Trial. [Docket No. 357]

II.   BACKGROUND

      Smith was originally indicted on August 23, 2005. The Third Superseding

Indictment was filed on September 19, 2006, against four defendants, Christopher

Smith, Bruce Lieberman, Daniel Adkins, and Darrell Griepp. Smith was charged

with Count One, conspiracy to distribute and dispense controlled substances;

Counts Two through Four, unlawful distribution and dispensing of controlled

substances; Counts Five through Seven, introduction of misbranded drugs into

interstate commerce; Count Eight, conspiracy to commit money laundering; and

                                          1
       CASE 0:05-cr-00282-MJD-JJG        Doc. 359     Filed 12/14/06    Page 2 of 9




Count Nine, continuing criminal enterprise. Trial commenced on October 10,

2006. On November 22, 2006, the jury found Smith guilty on all counts. Smith

now brings a motion for a new trial.

III.   DISCUSSION

       A.    Standard

       Under Rule 33 of the Federal Rules of Criminal Procedure, the Court may

vacate any judgment and grant a new trial if the interest of justice so requires.

The decision of whether to grant a new trial is within the broad discretion of the

district court. United States v. Dodd, 391 F.3d 930, 934 (8th Cir. 2004). The

Court must “balance the alleged errors against the record as a whole and evaluate

the fairness of the trial.” United States v. McBride, 862 F.2d 1316, 1319 (8th Cir.

1988).

       B.    Testimony of Dr. Mach

       Smith asserts that the Court erred by allowing Dr. Philip Mach to testify to

the prevailing standards of medical practice in the United States because he was

not qualified as an expert. Because Smith did not raise this objection to Dr.

Mach’s testimony at the time it was introduced, the Court reviews the propriety of

his testimony under the plain error standard. United States v. McBride, 862 F.2d

1316, 1319 (8th Cir. 1988). “The plain error rule connotes error that has affected

a defendant’s substantial rights, resulting in a miscarriage of justice.” Id.


                                            2
      CASE 0:05-cr-00282-MJD-JJG        Doc. 359     Filed 12/14/06   Page 3 of 9




      Dr. Mach testified to how he usually practices medicine and to how the

internet prescribing that he did for Smith was not done in the usual course of

medical practice and not for a legitimate medical purpose.

      Under Federal Rule of Evidence 701, a lay witness can testify regarding his

opinions or inference if those opinions or inferences are

      (a) rationally based on the perception of the witness, (b) helpful to a
      clear understanding of the witness’ testimony or the determination of
      a fact in issue, and (c) not based on scientific, technical, or other
      specialized knowledge within the scope of Rule 702.

      As a lay witness, Dr. Mach could not testify to whether another physician’s

actions met a particular standard of care; however, Dr. Mach was permitted to

testify as to standard of care regarding his own issuance of prescriptions “based on

his experience . . . [and to aid the jury’s] understanding of his decision making

process in the situation.” Parker v. Cent. Kan. Med. Ctr., No. 02-3099, 57 Fed.

Appx. 401, 404 (10th Cir. Feb. 24, 2003) (unpublished) (quoting Weese v.

Schukman, 98 F.3d 542, 550 (10th Cir. 1996)). See also United States v. Hayes,

595 F.2d 258, 261 (5th Cir. 1979) (“The doctor himself testified that during the

period in question he had no legitimate patients and that any prescriptions

written by him were not written in the usual course of medical practice or for a

legitimate medical purpose.”). Additionally, Dr. Mach’s limited testimony

regarding whether he issued the internet prescriptions not for a legitimate

medical purpose and not in the usual course of professional practice was not the

                                           3
      CASE 0:05-cr-00282-MJD-JJG        Doc. 359    Filed 12/14/06      Page 4 of 9




only testimony regarding the prevailing standards of medical practice. The

Government also provided the expert testimony of Carmen Catizone.

      C.     Expert Testimony Regarding Prevailing Standards of Medical
             Practice

      Carmen Catizone, M.S., R.Ph., D.Ph., testified that he had reviewed the

information upon which Dr. Mach relied when issuing prescriptions and that,

based on his experience and expertise, there was not enough information for a

physician to determine whether a person needed the prescription requested. He

opined that the information did not meet the requirement for the standard of care

for a prescription to be dispensed or prescribed.

      Smith argues Dr. Catizone was unqualified to give testimony concerning the

prevailing standards of medical practice in the United States for a prescription to

be valid. Smith raised this objection during trial and was overruled.

      Dr. Catizone is a pharmacist and the chief executive officer and executive

director for the National Association of the Boards of Pharmacy. He is an expert

in internet pharmacies and has testified before Congress on that subject. A

pharmacist can be qualified to testify regarding the medical standard for

prescribing a drug. See United States v. Jones, 570 F.2d 765, 769 (8th Cir. 1978)

(holding that Government adequately proved medical standard for prescription of

particular drug through testimony of non-M.D. when witness taught at medical

school and had Ph.D. in pharmacology).

                                           4
      CASE 0:05-cr-00282-MJD-JJG         Doc. 359     Filed 12/14/06    Page 5 of 9




       Furthermore, pharmacists are required by law to determine if prescriptions

are issued in the usual course of professional practice and for a legitimate medical

purpose. 21 C.F.R. § 1306.04(a) (providing that “a corresponding responsibility

rests with the pharmacist who fills the prescription” and that “the person

knowingly filling . . . a purported prescription [issued not in the usual course of

professional treatment] . . . shall be subject to the penalties provided for violations

of the provision of law relating to controlled substances” ). The Court concludes

that Dr. Catizone was qualified to opine regarding the prevailing standard of

medical care for prescribing the drugs at issue in this case.

       Additionally, it is “well established” that expert testimony is not required to

prove that a doctor’s prescription writing is outside the usual course of

professional practice. United States v. Word, 806 F.2d 658, 662-63 (6th Cir. 1986)

(citing United States v. Rogers, 609 F.2d 834, 839 (5th Cir. 1980); United States v.

Smurthwaite, 590 F.2d 889, 892 (10th Cir. 1979); United States v. Larson, 507

F.2d 385, 387 (9th Cir. 1974); United States v. Bartee, 479 F.2d 484, 448 (10th

Cir. 1973)). Even without Dr. Catizone’s expert testimony, there was ample

evidence for a jury to find that Dr. Mach’s prescription practice fell outside the

usual course of professional practice.

       D.     Defense of Good Faith Reading of 21 C.F.R. § 1306.04

       Smith asserts that the Court erred by refusing to instruct the jury that a


                                            5
      CASE 0:05-cr-00282-MJD-JJG          Doc. 359    Filed 12/14/06    Page 6 of 9




good-faith reading of 21 C.F.R. § 1306.04 could support an acquittal.

       “A district court has broad discretion when formulating jury instructions,

and a defendant is entitled to a requested instruction only if it correctly states the

law and is supported by the evidence.” United States v. Poe, 442 F.3d 1101, 1103

(8th Cir. 2006) (citation omitted). The Court did not err in refusing to give

Smith’s proposed instruction because the proposed instruction was a misstatement

of the law.

       The proposed instruction was based on the Supreme Court decision in

Cheek v. United States, 498 U.S. 192 (1991). In Cheek, the Supreme Court held

that a good faith misunderstanding of the law could negate the willfulness

requirement of the crimes of willful tax evasion, 26 U.S.C. § 7201, and of willful

failure to file a tax return, 26 U.S.C. § 7203. Id. at 202-03.

       The Eighth Circuit has not extended Cheek beyond the tax context. The

Eighth Circuit explained, “Although ignorance of the law traditionally is no

defense, Congress has carved out an exception to that rule in certain criminal tax

statutes by making ‘specific intent to violate the law’ one of the elements.” United

States v. Hildebrandt, 961 F.2d 116, 118 (8th Cir. 1992) (citing Cheek, 498 U.S. at

199-200). It explicitly held that “[t]he Cheek holding was premised on the

complexity of the tax laws . . . If Cheek is to be expanded, that expansion must be

made by the Supreme Court.” Id. at 119. See also United States v. Derezinski,


                                             6
      CASE 0:05-cr-00282-MJD-JJG         Doc. 359    Filed 12/14/06    Page 7 of 9




945 F.2d 1006, 1012 (8th Cir. 1991) (noting that the holding in Cheek was

premised on the fact that “‘willfulness’ is an express element in a criminal tax

statute” and holding that Cheek did not apply to a prosecution for conspiracy to

defraud the Internal Revenue Service because the government prosecuted the

defendant “under a general conspiracy statute, not a criminal tax statute, and

because ‘willfulness’ is not an express element of [the conspiracy statute]”). The

crimes for which Smith was convicted do not contain a willfulness requirement;

nor are they tax crimes. The Cheek holding is not applicable.

      Furthermore, the Court did accurately instruct the jury that they could

acquit Smith if they agreed that he acted in the good faith belief that the

prescriptions were valid, even if that belief was unreasonable.

      E.     Definition of Usual Course of Practice

      Smith argues that the Court erred by refusing to instruct the jury that the

seminal question of fact was whether the prescriptions at issue were issued in the

usual course of Dr. Mach’s medical practice rather than in the usual course of the

prevailing standards of medical practice in the United States.

      Based on extensive case law, the Court concludes that the law requires an

objective standard for the phrase “usual course of professional practice.” See

United States v. Moore, 423 U.S. 122, 124 (1975) (“[R]egistered physicians can be

prosecuted under § 841 when their activities fall outside the usual course of


                                            7
      CASE 0:05-cr-00282-MJD-JJG          Doc. 359    Filed 12/14/06    Page 8 of 9




professional practice.”); United States v. Katz, 445 F.3d 1023, 1030 (8th Cir. 2006)

(noting that “the material issue [was] whether Dr. Katz wrote . . . prescriptions

outside the usual course of medical practice and without a legitimate medical

purpose”). See also United States v. Hurwitz, 459 F.3d 463, 479 (4th Cir. 2006)

(“We believe that the inquiry must be an objective one, a conclusion that has been

reached by every court to specifically consider the question.”); United States v.

Feingold, 454 F.3d 1001, 1011-12 (9th Cir. 2006) (“[I]t is appropriate in cases

such as this for the jury to consider the practitioner’s behavior against the

benchmark of acceptable and accepted medical practice. Just how that

benchmark is expressed to the jury-here, the district court defined that

benchmark in terms of the ‘standard of medical practice generally recognized and

accepted in the country’-is a matter within the district court’s discretion.”)

(footnote and citation omitted); United States v. Vamos, 797 F.2d 1146, 1151 (2d

Cir. 1986) (“The term ‘professional practice’ refers to generally accepted medical

practice; a practitioner is not free deliberately to disregard prevailing standards of

treatment. In short, the doctor must act in the good faith belief that his

distribution of the controlled substance is for a legitimate medical purpose and in

accordance with the usual course of generally accepted medical practice.”) (citing

United States v. Norris, 780 F.2d 1207, 1209 (5th Cir. 1986)).

       According, based upon the files, records, and proceedings herein, IT IS


                                            8
     CASE 0:05-cr-00282-MJD-JJG     Doc. 359    Filed 12/14/06   Page 9 of 9




HEREBY ORDERED:

     Defendant Christopher William Smith’s Motion for a New Trial [Docket No.
     357] is DENIED.




Dated: December 14, 2006                   s / Michael J. Davis
                                           Judge Michael J. Davis
                                           United States District Court




                                       9
